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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

 Case No.       CV 18-3855 DMG (Ex)                                                Date    December 17, 2020

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       and Securities

 Present: The Honorable          DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 KANE TIEN                                                        NOT REPORTED
                 Deputy Clerk                                                      Court Reporter

     Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
              None Present                                                         None Present

Proceedings: IN CHAMBERS — ORDER RE JULIAN OMIDI’S EX PARTE
             APPLICATION TO INTERVENE [62]

        On December 14, 2020, Julian Omidi, a defaulted potential claimant in this action [Doc. #
    1
39], filed an ex parte application to intervene in this case for the “limited purpose” of seeking
permission to amend the Court’s October 8, 2020 Order [Doc. # 50]. [Doc. # 62.]2 On December
15, 2020, the Government filed its opposition. [Doc. # 63.] For the reasons set forth below,
Omidi’s ex parte application is DENIED.

        To justify ex parte relief, an applicant must make two separate showings: “[f]irst, the
evidence must show that the moving party’s cause will be irreparably prejudiced if the underlying
motion is heard according to regular noticed motion procedures. Second, it must be established
that the moving party is without fault in creating the crisis that requires ex parte relief, or that the
crisis occurred as a result of excusable neglect.” Mission Power Eng’g Co. v. Cont’l Cas. Co., 883
F. Supp. 488, 492 (C.D. Cal. 1995); see also In re Intermagnetics Am., Inc., 101 B.R. 191, 193
(C.D. Cal. 1989) (ex parte applications “impose an unnecessary administrative burden on the court
and an unnecessary adversarial burden on opposing counsel who are required to make a hurried
response under pressure, usually for no good reason.”). Omidi’s application has not met the
threshold showing justifying ex parte relief and fails on this basis alone.3 The Court reminds
counsel that ex parte applications should rarely be used and only after a robust showing that
prejudice would result without immediate relief. The Court has nearly 500 civil and criminal cases

         1
          Some parties were relieved of default in the Court’s October 8, 2020 Order, but Omidi was not one of them.
[See Doc. # 50 at 2-3, n.2, n.3, n.4.]
         2
           The Government states, and Omidi does not appear to dispute, that the instant application relates only to
Omidi’s request to intervene and not the ex parte application to amend the October 8, 2020 Order, which is attached
as an exhibit to his application to intervene. [See Doc. # 63 at 3 n.3; see also Doc. # 62-1, Exh. A.]
         3
           Omidi’s own application cites extensively to Federal Rule of Civil Procedure 24(a)(2), which governs
requests to intervene made “(o)n timely motion.” [Doc. # 62 at 2.]

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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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on its docket and the filing of an ex parte application is the functional equivalent of “taking cuts”
in front of all of the other litigants who seek the Court’s intervention and rulings.

       For the foregoing reasons, Julian Omidi’s ex parte application to intervene is DENIED
without prejudice to refiling as a duly noticed motion under Local Rule 6-1. The parties shall
meet and confer pursuant to Local Rule 7-3 prior to the filing of any motion. Given that Omidi
and his counsel signed the September 24, 2020 stipulation and had been in negotiations with
Government counsel to potentially modify that stipulation, the parties shall also consider how
Omidi could possibly not be an interested party for purposes of intervention and whether there is
a way to steer away from unnecessary procedural skirmishes.

IT IS SO ORDERED.




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